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  IT IS ORDERED as set forth below:



  Date: November 8, 2022
                                           ________________________________
                                                       Paul Baisier
                                               U.S. Bankruptcy Court Judge

 _______________________________________________________________
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Krystin Alexander ("Ms. Alexander"), on the other hand, settle certain claims that the

Bankruptcy Estate has regarding that certain real property with a common address of 1124

Dekalb Avenue, #24, Atlanta, Fulton County, Georgia 30307 (the "Property"). Ms. Alexander

will pay a total of $25,000.00 to the Trustee in exchange for Trustee's conveying the Bankruptcy

Estate's interest in the Property to Ms. Alexander. Pursuant to the Settlement Agreement, Ms.

Alexander will pay $5,000.00 upon Court approval and $20,000.00 on or before 6 months

following the date of the initial payment. The exact terms of the Settlement Agreement are set

forth in Exhibit "A" to the Motion.

         On October 3, 2022, Trustee filed Notice of Motion for Order Authorizing Compromise

 and Settlement under Rule 9019 of the Federal Rules of Bankruptcy Procedure; Deadline to

 Object; and Hearing [Doc. No. 84] (the "Notice") regarding the Motion. Counsel for Trustee

 certifies that he served the Notice on all requisite parties in interest on October 3, 2022. [Doc.

 No. 85].

          The Motion came on for hearing as scheduled on November 7, 2022. Counsel for the

 Trustee appeared to advocate the Motion, and counsel for Ms. Alexander appeared in support of

 the Motion. Responding to questions from the Court, counsel presented more information about

 the economic analysis by the Trustee and the equitable considerations taken into account in

 negotiating the settlement. Counsel also stated the Trustee's belief that the claims filed in this




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 Identification of entities to be served:

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